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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                  HAMMOND DIVISION


UNITED STATES OF AMERICA                                     )
                                                             )
               v.                                            )       2:05 CR 143
                                                             )
RUDOLFO HEREDIA                                              )


                     GOVERNMENT'S WITNESS AND EXHIBIT LIST



       Comes now the United States of America, by its Assistant United States Attorney, Philip

C. Benson, and files the attached witness and exhibit list in the above cause.




                                              Respectfully Submitted,

                                              JOSEPH S. VAN BOKKELEN
                                              UNITED STATES ATTORNEY



                                      By:     S/ Philip C. Benson
                                              Assistant United States Attorney
                                              Atty. # 14498-45
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                                Witness List


1.    Allen, Chris
2.    Aguayo, Gustavo
3.    Anaya, Sandra
4.    Bagdon, Tim
5.    Barajas, Silvia
6.    Dourghty, John
7.    Filipiak, William
8.    Graff, Susan
9.    Gribb, Rovelli
10.   Gribb, Tanya
11.   Hall, Tony
12.   Hernandez, Enedelia
13.   Johnson, Ron
14.   Keane, Dennis
15.   Miller, Brian
16.   Pierce, Harold
17.   Price, George
18.   Price, Michelle
19.   Radz, C.
20.   Rotkvich, Scott
21.   Stephen, Joel
22.   Urbina, Martha
23.   Urbina, Raymundo
24.   Van Witzenburg, Sylvia
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                                          Exhibit List




(4) Photographs exterior of house
(2) Photographs of key ring
(3) photographs of door
(1) photograph of door lock
(1) Key chain
(1) Lock set
Defendant’s video confession (excerpts)
Transcript of video confession
Cell phone records summary
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                                  Certificate of Service

     I hereby certified that December 30, 2005 I electronically filed the foregoing
GOVERNMENT'S WITNESS AND EXHIBIT LIST with the Clerk of the Court using the
CM/ECF system which sent notification of such filing to the following:

Arlington Foley

and I hereby certify that I have mailed by United States Postal Service the document to the
following non CM/ECF participants:

NONE



                                                            S/ Philip C. Benson
                                                            Assistant United States Attorney
                                                            Attorney # 14498-45
